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    Barry J. Glickman, Esq.
    Bruce S. Goodman
    ZEICHNER ELLMAN & KRAUSE LLP
    1211 Avenue of the Americas
    New York, New York 10036
    (212) 223-0400
    Attorneys for Defendant
      Citibank, N.A. \

    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK

     JOSEPH SAFDIEH,                                          Case No.: 20-CV-3073 (CBA) (SJB)

                                             Plaintiff,

                           - against -
                                                              CITIBANK’S ANSWER WITH
     CITIBANK, N.A. and HSBC BANK USA, N.A.,                  COUNTERCLAIMS AND CROSS-
                                                              CLAIMS
                                             Defendants.




                   Defendant, Citibank N.A., by its attorneys, Zeichner Ellman & Krause LLP,

    answers the Complaint dated June 23, 2020 (the “Complaint”), upon information and belief

    as follows:


                   1.      It has no knowledge or information sufficient to form a belief as to

    the truth of any of the allegations contained in paragraphs 1, 3, 7, and 11 through 15, 17 and

    19.


                   2.      It denies each and every allegation contained in paragraph 2, except

    Citibank is a national banking association, organized and existing under the laws of the

    United States of America.
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                   3.       It has no knowledge or information sufficient to form a belief as to

    the truth of any of the allegations contained in paragraphs 4 and 5 except that by a Notice of

    Removal dated July 9, 2020, defendant HSBC Bank USA, N.A. removed this action from

    the Supreme Court of the State of New York, County of Kings to this Court.


                   4.       It denies each and every allegation contained in paragraph 6, except

    at all relevant times Citibank maintained an account in the names of Joseph Safdieh and

    Barbara Safdieh, account number XXXXXX0888.


                   5.       It denies each and every allegation contained in paragraph 8, except

    that the referenced check required the indorsements of both plaintiff and defendant HSBC

    Bank USA, N.A., and it refers to the check for its contents.


                   6.       It has no knowledge or information sufficient to form a belief as to

    the truth of any of the allegations contained in paragraphs 9, 10 20, and refers to the

    referenced documents.


                   7.       It denies each and every allegation contained in paragraphs 16, 21,

    23, 25, 27 through 31, 35 through 37, and 39 through 45.


                   8.       It denies each and every allegation contained in paragraph 18, except

    that Citibank drew an official check to the order of HSBC Bank USA, N.A., dated January

    31, 2020, in the amount of $233,773.52.


                   9.       It has no knowledge or information sufficient to form a belief as to

    the truth of any of the allegations contained in paragraph 20, and refers to the referenced

    documents.

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                    10.     It denies each and every allegation contained in paragraph 20, except

    that both plaintiff and defendant HSBC Bank USA, N.A. claim the proceeds of the check

    drawn by AIG Property Casualty Company.


                    11.     It denies each and every allegation contained in paragraph 26, except

    that Citibank drew a check to the order of Joseph Safdieh and Barbara Safdieh, dated January

    28, 2020, in the amount $107,918.67.


                    12.     It denies each and every allegation contained in paragraphs 33 and

    34, and refers all questions of law to the Court.


                    13.     It denies each and every allegation contained in paragraphs 47

    through 55 to the extent the allegations set forth in those paragraphs contain any allegations

    against Citibank.


                               FIRST AFFIRMATIVE DEFENSE


                    14.     The complaint, as a whole and each and every purported claim

    alleged therein, fails to state a claim against Citibank.


                              SECOND AFFIRMATIVE DEFENSE


                    15.     The complaint fails to state a claim for conversion against Citibank.


                               THIRD AFFIRMATIVE DEFENSE


                    16.     The complaint fails to state a claim for violations of N.Y.U.C.C. §§

    3-409, 3-411 and 3-412 against Citibank.



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                               FOURTH AFFIRMATIVE DEFENSE


                   17.        The complaint fails to state a claim for negligence against Citibank.


                                 FIFTH AFFIRMATIVE DEFENSE


                   18.        The complaint fails to state a claim for attorney's fees, expenses and

    costs against Citibank.


                                 SIXTH AFFIRMATIVE DEFENSE


                   19.        Citibank acted in good faith and in accordance with the reasonable

    commercial standards of its business.


                              SEVENTH AFFIRMATIVE DEFENSE


                   20.        Plaintiff may not maintain this action upon the ground that Citibank

    has defenses based upon documentary evidence.


                               EIGHTH AFFIRMATIVE DEFENSE


                   21.        Plaintiff cannot allege any damages as a result of any actions taken

    by Citibank.


                                NINTH AFFIRMATIVE DEFENSE


                   22.        Plaintiff is precluded from recovery by reason of his failure to

    mitigate his damages, if any.




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                              TENTH AFFIRMATIVE DEFENSE


                   23.      Any damages plaintiff allegedly suffered were caused, in whole or

    in part by superseding and/or intervening acts of those other than Citibank.


                            ELEVENTH AFFIRMATIVE DEFENSE


                   24.      Plaintiff is not entitled to funds he demands by the complaint.


                            TWELFTH AFFIRMATIVE DEFENSE


                   25.      Plaintiff’s claims are barred because he lacks standing to pursue such

    claims.


                           THIRTEENTH AFFIRMATIVE DEFENSE


                   26.      Plaintiff’s claims are barred, in whole or in part, by the doctrines of

    waiver, laches, unclean hands, ratification and/or estoppel.


                           FOURTEENTH AFFIRMATIVE DEFENSE


                   27.      Plaintiff has not suffered any damages as a result of any alleged

    conduct of Citibank.


                           FIFTEENTH AFFIRMATIVE DEFENSE


                   28.      If the damages plaintiff allegedly sustained occurred at the time and

    place, and in the manner alleged in the complaint, such damages and injuries are attributable,

    in whole or in part, to the plaintiff’s culpable conduct, and if any damages are recoverable

    against Citibank, the amount of such damages shall be diminished in the proportion which


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    the culpable conduct attributable to plaintiff bears to the culpable conduct which caused the

    damages.


                               FOR A FIRST COUNTERCLAIM
                                   AGAINST PLAINTIFF

                   29.     This Court has subject matter jurisdiction over Citibank’s

    Counterclaims pursuant to 28 U.S.C. § 1367(a) because such claims are so related to the

    claims in the complaint that they form part of the same case or controversy under Article III

    of the United States Constitution.


                   30.     The Court has personal jurisdiction over plaintiff by virtue of

    plaintiff’s commencement of this action.


                   31.     Venue is proper in this district pursuant to 28 U.S.C. §1391(b)(2) and

    (3).


                   32.     Plaintiff deposited the April 15 Check to the credit of the Safdieh

    Account without HSBC’s required indorsement or authorization.


                   33.     Between April 15, 2019 and January 28, 2020, plaintiff withdrew

    $125,864.85 from the Safdieh Account against the proceeds of the April 15 Check.


                   34.     Upon information and belief, by indorsing the April 15 Check and

    receiving consideration for it, plaintiff warranted to Citibank, among other things, that he

    had good title to the April 15 Check and/or was authorized to obtain payment or acceptance

    on behalf of one who had good title.




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                     35.    Citibank paid the proceeds of the April 15 Check in good faith and

    in reliance upon plaintiff’s warranties.


                     36.    Plaintiff breached his warranties in that, among other things, he did

    not have good title to the April 15 Check and/or he was not authorized by HSBC to obtain

    payment or acceptance on HSBC’s behalf.


                     37.    By reason of the foregoing, plaintiff is strictly liable to Citibank for

    damages pursuant to N.Y.U.C.C. § 3-417 and N.Y.U.C.C. § 4-207 for not less than the

    amount of the April 15 Check, plus Citibank’s attorneys’ fees and expenses incurred in this

    action.


                               FOR A SECOND COUNTERCLAIM
                                    AGAINST PLAINTIFF

                     38.    Citibank repeats and realleges the allegations contained in paragraphs

    28 through 37.


                     39.    By reason of the foregoing, plaintiff has been unjustly enriched and

    is liable to Citibank for not less than the amount of the April 15 Check.


                                FOR A THIRD COUNTERCLAIM
                                    AGAINST PLAINTIFF

                     40.    Citibank repeats and realleges the allegations contained in paragraphs

    28 through 39.


                     41.    Citibank inadvertently drew a check to the order of Joseph Safdieh

    and Barbara Safdieh, dated January 28, 2020, in the amount $107,918.67 (the “January 28




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    Check”), and delivered the check to plaintiff. The proceeds of the January 28 Check were

    intended for HSBC, and represent a portion of the proceeds of the April 15 Check.


                    42.     Citibank thereafter cancelled the January 28 Check because upon

    information and belief plaintiff was not entitled to the proceeds.


                    43.     Plaintiff improperly retains possession of the January 28 Check.


                    44.     Accordingly, Citibank is entitled to a judgment declaring the January

    28 Check to be invalid, and enjoining plaintiff from negotiating the January 28 Check.


                            FOR A FIRST CROSS-CLAIM AGAINST
                             DEFENDANT HSBC BANK USA, N.A.

                    45.     By his complaint, plaintiff alleges that on or about April 15, 2019, he

    deposited a check in the amount of $233,773.52, drawn by AIG Property Casualty Company

    and payable to the order of Joseph Safdieh and HSBC Bank, ISAOA ATIMA (“HSBC”)

    (the “April 15 Check”), for credit to a Citibank account ending in 0888 (the “Safdieh

    Account”).


                    46.     Citibank maintained the Safdieh Account jointly in the names of

    plaintiff and Barbara Safdieh.


                    47.     According to the complaint, the April 15 Check was not indorsed by

    HSBC.


                    48.     In or about October 2019, HSBC represented to Citibank that

    plaintiff was not entitled to any portion of the April 15 Check proceeds, but that HSBC was

    entitled to the proceeds of that check in its entirety.


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                     49.    Accordingly, HSBC demanded that Citibank remit the proceeds of

    the April 15 Check to HSBC.


                     50.    In reasonable reliance upon HSBC’s representation, Citibank

    remitted the proceeds of the April 15 Check to HSBC by check in the amount of $233,773.52

    to the order of HSBC, dated January 31, 2020.


                     51.    According to the Complaint, HSBC misrepresented that it had a valid

    Uniform Commercial Code warranty claim against Citibank for crediting the proceeds of

    the April 15 Check to the Safdieh Account without HSBC’s indorsement


                     52.    According to the complaint, HSBC interfered with plaintiff’s rights

    in and to the proceeds of the April 15 Check by demanding Citibank remit the proceeds of

    the check to it, and obtaining those proceeds.


                     53.    By reason of the foregoing, HSBC has been unjustly enriched at

    Citibank’s expense.


                     54.    If plaintiff should recover against Citibank by reason of Citibank’s

    actions, then HSBC should be held and adjudged liable to Citibank for unjust enrichment in

    the same amount, plus attorneys’ fees.


                           FOR A SECOND CROSS-CLAIM AGAINST
                             DEFENDANT HSBC BANK USA, N.A.

                     55.    Citibank repeats and realleges the allegations contained in paragraphs

    44 through 54.




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                     56.    By reason of the foregoing, HSBC negligently misrepresented its

    entitlement to the proceeds of the April 15 Check to Citibank.


                     57.    Citibank reasonably relied upon HSBC’s representation to its

    detriment.


                     58.    Accordingly, Citibank is entitled to contribution and or indemnity

    from HSBC for any amount plaintiff may recover as against Citibank.


                           FOR A THIRD CROSS-CLAIM AGAINST
                            DEFENDANT HSBC BANK USA, N.A.


                     59.    Citibank repeats and realleges the allegations contained in paragraphs

    44 through 58.


                     60.    By reason of the foregoing, Citibank is entitled to contribution and/or

    indemnity from defendant HSBC Bank USA, N.A., for any amount plaintiff may recover as

    against Citibank.


                     WHEREFORE, Citibank, N.A. demands judgment:


                     (a)    dismissing the Complaint in its entirety;


                     (b)    on the first and second counterclaims as against plaintiff Joseph

    Safdieh, in an amount not less than $233,773.52, together with the costs and disbursements

    of this action, including attorneys’ fees and costs;




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                     (c)   on the third counterclaim as against plaintiff Joseph Safdieh,

    declaring the January 28 Check to be invalid, and enjoining plaintiff from negotiating the

    January 28 Check;


                     (d)   on the first, second and third cross-claims as against defendant

    HSBC Bank USA, N.A., for such sums as Citibank may be held and adjudged liable to

    plaintiff, together with the costs and disbursements of this action, including attorneys’ fees

    and costs; and


                     (e)   for such other and further relief as is just.


    Dated:    New York, New York
              July 20, 2020
                                                        ZEICHNER ELLMAN & KRAUSE LLP


                                                   By:_________________________________
                                                       Barry J. Glickman, Esq.
                                                       Bruce S. Goodman, Esq.
                                                       Attorneys for Defendant
                                                       Citibank, N.A.
                                                       1211 Avenue of the Americas
                                                       New York, New York 10036
                                                       (212) 223-0400


    To:      LAW OFFICE OF SAMUEL KATZ, PLLC
             Attorneys for Plaintiff
             4533 16th Avenue
             Brooklyn, New York 11204

             PHILLIPS LYTLE LLP
             Attorneys for Defendant
              HSBC Bank USA, N.A.
             340 Madison Avenue, 17th Floor
             New York, New York 10173




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